Case 3:21-cv-12870-MAS-DEA Document 9-19 Filed 07/14/21 Page 1 of 8 PageID: 394




                EXHIBIT S
CaseCase
     3:21-cv-12870-MAS-DEA
         1:20-cv-01255-LPS Document
                            Document7 9-19
                                       FiledFiled
                                            09/29/20
                                                  07/14/21
                                                       PagePage
                                                            1 of 72PageID
                                                                   of 8 PageID:
                                                                          #: 46 395




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

 SILVERGATE PHARMACEUTICALS, INC.,                      )
                                                        )
                        Plaintiff,                      )
                                                        )
        v.                                              )
                                                        )    C.A. No. 20-1255 (LPS)
 AMNEAL PHARMACEUTICALS LLC,                            )
                                                        )
                        Defendant.                      )



                 AMENDED COMPLAINT FOR PATENT INFRINGEMENT

        For its Complaint against Defendant Amneal Pharmaceuticals LLC. (“Amneal”), Plaintiff

 Silvergate Pharmaceuticals, Inc. (“Silvergate”), by and through its attorneys, alleges as follows:

                                THE NATURE OF THE ACTION

        1.      This is an action for patent infringement of United States Patent No. 10,772,868

 (the “’868 Patent”) and 10,786,482 (the “’482 Patent”) arising under the patent laws of the United

 States, Title 35, United States Code, that arises out of the filing by Amneal of Abbreviated New

 Drug Application (“ANDA”) No. 212894 with the U.S. Food and Drug Administration (“FDA”)

 seeking approval of a generic version of Silvergate’s oral solution that is the subject of New Drug

 Application (“NDA”) No. 208686, hereinafter referred to as Silvergate’s “Epaned® Product.”

 Silvergate seeks all available relief under the patent laws of the United States, 35 U.S.C. § 100 et.

 seq., and other applicable laws for Defendant’s infringement of the ’868 Patent and the ’482 Patent.

                                          THE PARTIES

        2.      Silvergate is a corporation organized and existing under the laws of the State of

 Delaware, with a principal place of business at 8 Cabot Road, Suite 2000, Woburn MA 01801.

        3.      Silvergate is a wholly-owned subsidiary of Azurity Pharmaceuticals, Inc.

 (“Azurity”).
CaseCase
     3:21-cv-12870-MAS-DEA
         1:20-cv-01255-LPS Document
                            Document7 9-19
                                       FiledFiled
                                            09/29/20
                                                  07/14/21
                                                       PagePage
                                                            2 of 73PageID
                                                                   of 8 PageID:
                                                                          #: 47 396




        4.      On information and belief, Amneal is a limited liability company organized and

 existing under the laws of the State of Delaware, having a principal place of business at 400

 Crossing Boulevard, Third Floor, Bridgewater, New Jersey 08807. On information and belief,

 Amneal is in the business of, among other things, developing, manufacturing, and selling generic

 copies of branded pharmaceutical products for the U.S. market.

                                 JURISDICTION AND VENUE

        5.      This action arises under the patent laws of the United States of America, 35 U.S.C.

 § 1, et seq. This Court has subject matter jurisdiction over the action under 28 U.S.C. §§ 1331,

 1338(a) (patent infringement). Relief is sought under 35 U.S.C. § 271(e)(2).

        6.      This Court has personal jurisdiction over Amneal because, among other things, on

 information and belief, Amneal is a limited liability company formed under the laws of the State

 of Delaware.

        7.      Venue is proper in this Court under 28 U.S.C. §§ 1391(c) and 1400(b).

                            SILVERGATE’S EPANED® PRODUCT

        8.      Silvergate’s Epaned® Product is the only FDA approved and labeled ace inhibitor

 treatment that is a ready-to-use oral solution for hypertension in children. Epaned® is also

 indicated to treat hypertension in adults, heart failure, and asymptomatic left ventricular

 dysfunction.

        9.      Azurity is the holder of approved NDA No. 208686.

                                       PATENTS-IN-SUIT

        10.     The ’868 Patent, entitled “Enalapril Formulations,” issued on September 15, 2020

 from United States Patent Application 16/242,898 (the “’898 Application”). A true and correct

 copy of the ’868 Patent is attached to this Complaint as Exhibit A.




                                                 2
CaseCase
     3:21-cv-12870-MAS-DEA
         1:20-cv-01255-LPS Document
                            Document7 9-19
                                       FiledFiled
                                            09/29/20
                                                  07/14/21
                                                       PagePage
                                                            3 of 74PageID
                                                                   of 8 PageID:
                                                                          #: 48 397




         11.     The ’868 Patent was duly and legally issued to Silvergate as the assignee. Silvergate

 owns all rights, title and interest in the ’868 Patent.

         12.     Pursuant to 21 U.S.C. § 355, Azurity submitted a request to FDA to list the ’868

 Patent in the Approved Drug Products with Therapeutic Equivalence Evaluations (“the Orange

 Book”) in connection with NDA No. 208686 (Silvergate’s Epaned® product).

         13.     The ’482 Patent, entitled “Enalapril Formulations,” issued on September 29, 2020

 from United States Patent Application 16/177,159 (the “’159 Application”). A true and correct

 copy of the ’482 Patent is attached to this Complaint as Exhibit B.

         14.     The ’482 Patent was duly and legally issued to Silvergate as the assignee.

 Silvergate owns all rights, title and interest in the ’482 Patent.

         15.     Pursuant to 21 U.S.C. § 355, Azurity submitted a request to FDA to list the ’482

 Patent in the Approved Drug Products with Therapeutic Equivalence Evaluations (“the Orange

 Book”) in connection with NDA No. 208686 (Silvergate’s Epaned® product).

         16.     Silvergate’s Epaned® product is covered by at least one claim of each of the ’868

 and the ’482 Patents.

                                  INFRINGEMENT BY AMNEAL

         17.     By letter dated February 27, 2019 (“the Notice Letter”), Amneal notified Silvergate

 that it had submitted ANDA No. 212894 to FDA under Section 505(j)(2)(B) of the Federal Food,

 Drug and Cosmetic Act (“FDCA”) (21 U.S.C. § 355(j)(2)(B) and 21 C.F.R. §314.95) seeking

 approval to engage in the commercial manufacture, use, and sale of a generic version of

 Silvergate’s Epaned® product (“the Amneal ANDA Product”) before the expiration of four

 Silvergate Patents related to Epaned®: United States Patent Nos. 9,669,008 (the “’008 Patent”),




                                                    3
CaseCase
     3:21-cv-12870-MAS-DEA
         1:20-cv-01255-LPS Document
                            Document7 9-19
                                       FiledFiled
                                            09/29/20
                                                  07/14/21
                                                       PagePage
                                                            4 of 75PageID
                                                                   of 8 PageID:
                                                                          #: 49 398




 9,808,442 (the “’442 Patent”), 10,039,745 (the “’745 Patent”), and 10, 154,987 (the “’987

 Patent”)1.

        18.     Each of the ’008, ’442, ’745, ’987,’868, and ’482 patents expire on March 25, 2036.

        19.     Upon information and belief, Amneal intends to engage in commercial

 manufacture, use, and sale of the Amneal ANDA Product promptly upon receiving FDA approval

 to do so.

        20.     Upon information and belief, Amneal is seeking approval to engage in the

 commercial manufacture, use, and sale of the Amneal ANDA Product before the expiration of the

 ’868 and ’482 patents.

        21.     By filing ANDA No. 212894, Amneal has necessarily represented to FDA that the

 Amneal ANDA Product has the same active ingredients as Silvergate’s Epaned® product, has the

 same route of administration, dosage form, and strength as Silvergate’s Epaned® product, and is

 bioequivalent to Silvergate’s Epaned® product.

                                     CLAIM 1 FOR RELIEF

                Infringement of the ’868 Patent Under 35 U.S.C. § 271 (e)(2)(A)

        22.     Silvergate incorporates each of the preceding paragraphs as if fully set forth herein.

        23.     Amneal submitted ANDA No. 212894 to FDA under section 505(j) of the FDCA

 to obtain approval to engage in the commercial manufacture, use, offer for sale, sale, or importation

 of the Amneal ANDA Product throughout the United States. By submitting the ANDA, Amneal

 has committed an act of infringement of the ’868 Patent under 35 U.S.C. § 271 (e)(2)(A).


 1
         On April 11, 2019, Silvergate brought an action against Amneal for infringement of the
 ’008 Patent, the ’442 Patent, the ’745 Patent and the ’987 Patent in this District. That case is
 currently pending as C.A. No. 19-678-LPS. Silvergate hereby incorporates by reference its
 Complaint (D.I. 1) against Amneal in that action and intends to request consolidation of these
 related cases.



                                                  4
CaseCase
     3:21-cv-12870-MAS-DEA
         1:20-cv-01255-LPS Document
                            Document7 9-19
                                       FiledFiled
                                            09/29/20
                                                  07/14/21
                                                       PagePage
                                                            5 of 76PageID
                                                                   of 8 PageID:
                                                                          #: 50 399




        24.     If Amneal’s ANDA is approved by FDA, the commercial manufacture, use, offer

 to sell, or sale within the United States, and/or importation into the United States of the Amneal

 ANDA Product will constitute acts of infringement of the ’868 Patent under 35 U.S.C. § 271(a)-

 (c) unless enjoined by the Court.

        25.     On information and belief, Amneal has actual and constructive knowledge of the

 ’868 Patent and the ’898 Application. In addition, upon information and belief, Amneal had

 specific intent to infringe the ’868 Patent. Moreover, there are no substantial non-infringing uses

 for the Amneal ANDA Product other than as the pharmaceutical claimed in the ’868 Patent.

        26.     The commercial manufacture, use, offer for sale, sale, and/or importation of the

 Amneal ANDA Product in violation of Silvergate’s patent rights will cause irreparable harm to

 Silvergate for which damages are inadequate.

                                     CLAIM 2 FOR RELIEF

                Infringement of the ’482 Patent Under 35 U.S.C. § 271 (e)(2)(A)

        27.     Silvergate incorporates each of the preceding paragraphs as if fully set forth herein.

        28.     Amneal submitted ANDA No. 212894 to FDA under section 505(j) of the FDCA

 to obtain approval to engage in the commercial manufacture, use, offer for sale, sale, or importation

 of the Amneal ANDA Product throughout the United States. By submitting the ANDA, Amneal

 has committed an act of infringement of the ’482 Patent under 35 U.S.C. § 271 (e)(2)(A).

        29.     If Amneal’s ANDA is approved by FDA, the commercial manufacture, use, offer

 to sell, or sale within the United States, and/or importation into the United States of the Amneal

 ANDA Product will constitute acts of infringement of the ’482 Patent under 35 U.S.C. § 271(a)-

 (c) unless enjoined by the Court.

        30.     On information and belief, Amneal has actual and constructive knowledge of the

 ’482 Patent and the ’159 Application. In addition, upon information and belief, Amneal has


                                                  5
CaseCase
     3:21-cv-12870-MAS-DEA
         1:20-cv-01255-LPS Document
                            Document7 9-19
                                       FiledFiled
                                            09/29/20
                                                  07/14/21
                                                       PagePage
                                                            6 of 77PageID
                                                                   of 8 PageID:
                                                                          #: 51 400




 specific intent to infringe the ’482 Patent. Moreover, there are no substantial non-infringing uses

 for the Amneal ANDA Product other than as the pharmaceutical claimed in the ’482 Patent.

        31.     The commercial manufacture, use, offer for sale, sale, and/or importation of the

 Amneal ANDA Product in violation of Silvergate’s patent rights will cause irreparable harm to

 Silvergate for which damages are inadequate.

                                     PRAYER FOR RELIEF

        Silvergate respectfully requests the following relief:

        a)      A judgment that Amneal has infringed the ’868 and the ’482 Patents under 35

 U.S.C. § 271(e)(2)(A) by submitting ANDA No. 212894 under Section 505(j) of the FDCA, and

 that Amneal’s making, using, offering to sell, or selling in the United States, or importing into the

 United States of the Amneal ANDA Product will infringe one or more claims of the ’868 Patent;

        b)      A finding that the ’868 and ’482 Patents are valid and enforceable;

        c)      An order under 35 U.S.C. § 271(e)(4)(A) that the effective date of any FDA

 approval of ANDA No. 212894 shall be a date which is not earlier than the latest expiration date

 of the ’868 and ’482 Patents, as extended by any applicable periods of exclusivity;

        d)      An order under 35 U.S.C. § 27l(e)(4)(B) permanently enjoining Amneal, its

 subsidiaries, parents, officers, agents, servants, employees, licensees, representatives, and

 attorneys, and all other persons acting or attempting to act in active concert or participation with

 it or acting on its behalf, from engaging in the commercial manufacture, use, offer to sell, or

 importation into the United States, of any drug product covered by the ’868 and ’482 Patents,

 including the Amneal ANDA Product;

        e)      A finding that this action for infringement is an exceptional case under 35 U.S.C.

 § 285, and that Silvergate be awarded reasonable attorneys’ fees and costs; and




                                                  6
CaseCase
     3:21-cv-12870-MAS-DEA
         1:20-cv-01255-LPS Document
                            Document7 9-19
                                       FiledFiled
                                            09/29/20
                                                  07/14/21
                                                       PagePage
                                                            7 of 78PageID
                                                                   of 8 PageID:
                                                                          #: 52 401




           f)   An award of any such other and further relief as the Court may deem just and

 proper.


                                               MORRIS, NICHOLS, ARSHT & TUNNELL LLP

                                               /s/ Megan E. Dellinger
 OF COUNSEL:                                   Jack B. Blumenfeld (#1014)
                                               Megan E. Dellinger (#5739)
 Wendy L. Devine                               1201 North Market Street
 Kristina M. Hanson                            P.O. Box 1347
 Jody Karol                                    Wilmington, DE 19899
 WILSON SONSINI GOODRICH                       (302) 658-9200
   & ROSATI                                    jblumenfeld@mnat.com
 One Market Plaza                              mdellinger@mnat.com
 Spear Tower, Suite 3300
 San Francisco, CA 94105                       Attorneys for Plaintiff Silvergate
 (415) 947-2000                                Pharmaceuticals, Inc.

 Natalie J. Morgan
 WILSON SONSINI GOODRICH
   & ROSATI
 12235 El Camino Real, Suite 200
 San Diego, CA 92130-3002
 (858) 350-2300

 Ty W. Callahan
 Granville C. Kaufman
 WILSON SONSINI GOODRICH
   & ROSATI
 633 West Fifth Street, Suite 1550
 Los Angeles, CA 90071-2005
 (323) 210-2900

 September 29, 2020




                                              7
